Case 4:10-cv-00022-HLM Document 150 Filed 11/09/10 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF GEORGIA

                         ROME DIVISION


JOSE VELASQUEZ, MARIA I.               ]
ROLDOS and PAUL E. DYER,               ]
                                       ]
             Plaintiffs,               ]
                                       ]   CIVIL ACTION FILE NO.
-Versus­                               ]
                                       ]   4:10CV-22-HLM
SOUTHERN GROUP, LLC;                   ]
SOUTHERN REAL ESTATE OF                ]
TENNESSEE, LLC; TRAVIS                 ]
SHIELDS, in his Individual Capacity ]
and d/b/a Southern Real Estate,        ]
Southern Real Estate, LLC; and         ]
Mortgage Payment Services, LLC;        ]
JOSHUA DOBSON, in his Individual ]
Capacity and d/b/a Southern Real       ]
Estate, Southern Real Estate, LLC; and]
Mortgage Payment Services, LLC;        ]
THOMAS DOBSON, in his Individual]
Capacity and d/b/a Southern Real       ]
Estate, Southern Real Estate, LLC; and ]
Mortgage Payment Services, LLC;        ]
SOUTHERN MOUNTAIN                      ]
RESORTS, LLC; and GM                   ]
MORTGAGE SERVICES, INC.,               ]
                                       ]
             Defendants.               ]

                         CONSENT FINAL ORDER

      Defendants JOSHUA DOBSON, THOMAS DOBSON, TRAVIS

SHIELD, SOUTHERN GROUP, LLC, SOUTHERN REAL ESTATE OF

TENNESSEE, LLC, and SOUTHERN MOUNTAIN RESORTS, LLC
Case 4:10-cv-00022-HLM Document 150 Filed 11/09/10 Page 2 of 3




("Defendants") and the Plaintiffs have reached a settlement agreement

resolving all issues between them. The Defendants have denied any liability in

this matter and continue to do so. The parties have agreed to certain actions to

be taken by the Defendants and to certain payments to be made by the

Defendants to the Plaintiffs by December 31,2010. The parties have agreed to

enter this order now. As long as payment is made as contemplated, this order

would be moot.

      The Plaintiffs have agreed that they will take no action to collect the

monies owed by the Defendants pursuant to their settlement agreement or this

order until after December 31, 2010. The parties hereto also agree that each

party is responsible for their own attorney's fees and costs. No interest shall

begin to run or accrue until January 1,2011.

      It is hereby Ordered and Adjudged that Defendants shall pay to the

Plaintiffs, JOSE VELASQUEZ and MARIA I. ROLDOS, $7,500.00 by

December 31,2010 and shall pay to the Plaintiff, PAUL DYER, $7,500.00 by

December 31,2010 for a total payment of$15,000.00. Defendants also agree

to cancel the second mortgages currently being held by the Defendants for the

Plaintiffs. No action shall be taken to collect on this judgment if all monies are

paid by December 31, 2010. If all monies are not paid by December 31, 2010,

Plaintiffs may take action to collect. No interest shall be due if all monies are


                                        2
Case 4:10-cv-00022-HLM Document 150 Filed 11/09/10 Page 3 of 3




paid by December 31,2010. If all monies are not paid by December 31,2010,

interest shall begin to accrue on January 1, 2011. If Defendants do not pay by

December 31, 2010, they will be responsible for attorney's fees and costs



      So Ordered this   -q
associated with collection, if an~

                               day of   "hW~/,
                                            .. 2010.

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Prepared by:

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Agreed to by:

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